                                      Case 3:11-cv-02366-JLS-BLM Document 1 Filed 10/13/11 PageID.1 Page 1 of 8



                                     KAZEROUNI LAW GROUP, APC
                                      Abbas Kazerounian, Esq. (SBN: 249203)
                                     ak@kazlg.com
                                      S. Mohammad Kazerouni, Esq. (SBN: 252835)
                                    mike@kazlg.com
                                    Assal Assassi, Esq. (SBN: 274249)
                                      assal@kazlg.com
                                    2700 N. Main Street, Ste. 1050
                                      Santa Ana, California 92705
                                    Telephone: (800) 400-6808
                                      Facsimile: (800) 520-5523
                                 

                                    HYDE & SWIGART
                                      Joshua B. Swigart, Esq. (SBN: 225557)
                                    josh@westcoastlitigation.com
                                      411 Camino Del Rio South, Suite 301
                                     San Diego, CA 92108
                                      Telephone: (619) 233-7770
                                  
                                      Facsimile: (619) 297-1022
2700 N. Main Street, Ste. 1050




                                  
 Santa Ana, California 92705
   Kazerouni Law Group, APC




                                      Attorneys for Plaintiff,
                                 

                                 
                                                                 UNITED STATES DISTRICT COURT
                                 
                                                            SOUTHERN DISTRICT OF CALIFORNIA
                                 
                                      ANDREW M. ROSE                              Case No.: '11CV2366 JLS BLM
                                 
                                                       Plaintiff,
                                                                                COMPLAINT FOR DAMAGES FOR
                                                                 v.               VIOLATIONS OF THE
                                                                                ROSENTHAL FAIR DEBT
                                      LEGAL RECOVERY LAW                          COLLECTION PRACTICES ACT
                                                                                 CAL. CIV. CODE §§ 1788-1788.32;
                                      OFFICES, INC.                               AND THE FAIR DEBT
                                                                                 COLLECTION PRACTICES ACT 15
                                                      Defendants.                 U.S.C §§ 1692-1692(P)
                                  
                                                                                  JURY TRIAL DEMANDED
                                 

                                 
                                                                          INTRODUCTION
                                 
                                      1.   The California legislature has determined that the banking and credit system
                                 
                                           and grantors of credit to consumers are dependent upon the collection of just
                                 
                                           and owing debts and that unfair or deceptive collection practices undermine
                                 


                                      COMPLAINT FOR DAMAGES                                              PAGE 1 OF 7
                                      Case 3:11-cv-02366-JLS-BLM Document 1 Filed 10/13/11 PageID.2 Page 2 of 8



                                             the public confidence that is essential to the continued functioning of the
                                             banking and credit system and sound extensions of credit to consumers. The
                                            Legislature has further determined that there is a need to ensure that debt
                                            collectors exercise this responsibility with fairness, honesty, and due regard
                                            for the debtor’s rights and that debt collectors must be prohibited from
                                            engaging in unfair or deceptive acts or practices.1
                                    2.      ANDREW M. ROSE (“Plaintiff”), by Plaintiff’s attorneys, brings this action
                                            to challenge the actions of LEGAL RECOVERY LAW OFFICES, INC.
                                            (“Defendant”) with regard to attempts by Defendant, debt collector, to
                                             unlawfully and abusively collect a debt allegedly owed by Plaintiff, and this
                                             conduct caused Plaintiff damages.
2700 N. Main Street, Ste. 1050




                                           3. Unless otherwise indicated, the use of any Defendant’s name in this
 Santa Ana, California 92705
   Kazerouni Law Group, APC




                                             Complaint includes all agents, employees, officers, members, directors,
                                             heirs,    successors,    assigns,      principals,     trustees,    sureties,   subrogees,
                                             representatives, and insurers of that defendant named.
                                                                      JURISDICTION AND VENUE
                                    4.      Jurisdiction of this Court arises pursuant to 28 U.S.C. §1331 and 15 U.S.C. §
                                            1692k.
                                    5.      This action arises out of Defendant’s violations of (i) the Rosenthal Fair Debt
                                             Collection    Practices        Act,   California      Civil   Code     §§    1788-1788.32
                                             (“RFDCPA”); and, (ii) the Fair Debt Collection Practices Act, 15 U.S.C. §§
                                             1692-1692(p) (“FDCPA”).
                                    6.      Because Defendants do business within the State of California, personal
                                            jurisdiction is established.
                                    7.      Venue is proper pursuant to 28 U.S.C. § 1391.
                                    ///
                                    ///
                                    1
                                          Cal. Civ. Code §§ 1788.1 (a)-(b)

                                      COMPLAINT FOR DAMAGES                                                               PAGE 2 OF 7
                                      Case 3:11-cv-02366-JLS-BLM Document 1 Filed 10/13/11 PageID.3 Page 3 of 8



                                                                           PARTIES
                                     8.   Plaintiff is a natural person who resides in the City of Goleta, County of Santa
                                         Barbara, State of California, from whom a debt collector sought to collect a
                                         consumer debt which was due and owing or alleged to be due and owing from
                                         Plaintiff, and is a “debtor” as that term is defined by California Civil Code §
                                         1788.2(h).
                                    9.   Plaintiff is informed and believes, and thereon alleges, that Defendant is a
                                         company operating from the State of California in the County of San Diego.
                                    10. Plaintiff is informed and believes, and thereon alleges, that Defendant, in the
                                          ordinary course of business, regularly, on behalf of themselves or others,
                                          engage in debt collection as that term is defined by California Civil Code §
2700 N. Main Street, Ste. 1050




                                          1788.2(b), and are therefore “debt collectors” as that term is defined by
 Santa Ana, California 92705
   Kazerouni Law Group, APC




                                         California Civil Code § 1788.2(c).
                                    11. This case involves money, property or their equivalent, due or owing or
                                         alleged to be due or owing from a natural person by reason of a consumer
                                         credit transaction. As such, this action arises out of a “consumer debt” and
                                         “consumer credit” as those terms are defined by Cal. Civ. Code § 1788.2(f).
                                                                 FACTUAL ALLEGATIONS
                                    12. At all times relevant, Plaintiff is an individual residing within the State of
                                          California.
                                     13. Plaintiff is informed and believes, and thereon alleges, that at all times
                                          relevant, Defendant conducted business in the State of California in the
                                         County of San Diego.
                                    14. In or about April 2011, Plaintiff allegedly incurred financial obligations to
                                         Defendant that were money, property, or their equivalent, which is due or
                                         owing, or alleged to be due or owing, from a natural person to another person
                                         and were therefore “debt(s)” as that term is defined by California Civil Code
                                         §1788.2(d), and a “consumer debt” as that term is defined by California Civil


                                      COMPLAINT FOR DAMAGES                                                PAGE 3 OF 7
                                      Case 3:11-cv-02366-JLS-BLM Document 1 Filed 10/13/11 PageID.4 Page 4 of 8



                                         Code §1788.2(f).
                                     15. Sometime thereafter, Plaintiff allegedly fell behind in the payments allegedly
                                        owed on the alleged debt. Plaintiff currently take no position as to whether or
                                        not this alleged debt was actually owed.
                                    16. From April 2011 through the present, Plaintiff received multiple telephone
                                        calls per day. These telephone calls were “communications” as 15 U.S.C. §
                                        1692a(2) defines that term, and a “debt collection” as that phrase is defined by
                                        Cal. Civ. Code § 1788.2(b).
                                    17. On or about April 20, 2011, Plaintiff sent Defendant a written request for
                                         validation of the alleged debt via U.S. mail.         However, Defendant has
                                         continued to collect Plaintiff’s alleged debt without first validating the alleged
2700 N. Main Street, Ste. 1050




                                         debt in violation of 15 U.S.C. § 1692g(b). In addition, 15 U.S.C. § 1692g(b)
 Santa Ana, California 92705
   Kazerouni Law Group, APC




                                        is incorporated into the RFDCPA through Cal. Civ. Code § 1788.17. Thus,
                                        Defendant has also violated Cal. Civ. Code § 1788.17.
                                    18. On or about June 2, 2011, Plaintiff sent Defendant a written request for
                                        validation of the alleged debt via U.S. mail.         However, Defendant has
                                        continued to collect Plaintiff’s alleged debt without first validating the alleged
                                        debt in violation of 15 U.S.C. § 1692g(b). In addition, 15 U.S.C. § 1692g(b)
                                        is incorporated into the RFDCPA through Cal. Civ. Code § 1788.17. Thus,
                                         Defendant has also violated Cal. Civ. Code § 1788.17.
                                     19. On or about July 5, 2011, Plaintiff requested in writing that Defendant cease
                                         further communications with Plaintiff via U.S. mail.          Despite receiving
                                        Plaintiff’s written request, Defendant has continued Defendant’s collection
                                        efforts in violation of both 15 U.S.C. § 1692c(c). In addition, 15 U.S.C. §
                                        1692c(c) is incorporated into the RFDCPA through Cal. Civ. Code § 1788.17.
                                        Thus, Defendant has also violated Cal. Civ. Code § 1788.17.
                                    20. Through this conduct, Defendant participated in communications with
                                        Plaintiff concerning the alleged debt. Consequently, Defendant violated Cal.


                                      COMPLAINT FOR DAMAGES                                                 PAGE 4 OF 7
                                      Case 3:11-cv-02366-JLS-BLM Document 1 Filed 10/13/11 PageID.5 Page 5 of 8



                                         Civ. Code §§ 1788.17.        In addition, Defendant violated 15 U.S.C. §§
                                         1692c(c); 1692g(b).
                                                        CAUSES OF ACTION CLAIMED BY PLAINTIFF
                                                                        COUNT I
                                      VIOLATION OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
                                                        Cal. Civ. Code §§ 1788-1788.32 (RFDCPA)
                                                                [Against All Defendants]
                                    21. Plaintiff incorporates by reference all of the above paragraphs of this
                                        Complaint as though fully stated herein.
                                     22. The foregoing acts and omissions constitute numerous and multiple violations
                                         of the RFDCPA.
2700 N. Main Street, Ste. 1050




                                     23. As a result of each and every violation of the RFDCPA, Plaintiff is entitled to
 Santa Ana, California 92705
   Kazerouni Law Group, APC




                                        any actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory
                                        damages for a knowing or willful violation in the amount up to $1,000.00
                                        pursuant to Cal. Civ. Code § 1788.30(b); and reasonable attorney’s fees and
                                        costs pursuant to Cal. Civ. Code § 1788.30(c) from each Defendant
                                        individually.
                                                                        COUNT II
                                             VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                                            15 U.S.C. §§ 1692-1692(p) (FDCPA)
                                                                 [Against All Defendants]
                                     24. Plaintiff incorporates by reference all of the above paragraphs of this
                                        Complaint as though fully stated herein.
                                    25. The foregoing acts and omissions constitute numerous and multiple violations
                                        of the FDCPA.
                                    26. As a result of each and every violation of the FDCPA, Plaintiff is entitled to
                                        any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages
                                        for a knowing or willful violation in the amount up to $1,000.00 pursuant to


                                      COMPLAINT FOR DAMAGES                                               PAGE 5 OF 7
                                      Case 3:11-cv-02366-JLS-BLM Document 1 Filed 10/13/11 PageID.6 Page 6 of 8



                                         15 U.S.C. § 1692k(a)(2)(A); and reasonable attorney’s fees and costs pursuant
                                         to 15 U.S.C. § 1692k(a)(3) from each Defendant individually.
                                                                 PRAYER FOR RELIEF
                                    WHEREFORE, Plaintiff prays that judgment be entered against Defendants for:
                                         • an award of actual damages, in an amount to be determined at trial,
                                            pursuant to Cal. Civ. Code § 1788.30(a), against each named Defendant
                                            individually;
                                         • an award of actual damages, in an amount to be determined at trial,
                                            pursuant to 15 U.S.C. § 1692k(a)(1), against each named Defendant
                                             individually;
                                          • an award of statutory damages of $1,000.00, pursuant to Cal. Civ. Code
2700 N. Main Street, Ste. 1050




                                             § 1788.30(b), against each named Defendant individually;
 Santa Ana, California 92705
   Kazerouni Law Group, APC




                                         • an award of statutory damages of $1,000.00, pursuant to 15 U.S.C. §
                                            1692k(a)(2)(A);, against each named Defendant individually;
                                         • an award of costs of litigation and reasonable attorney’s fees, pursuant to
                                            Cal. Civ. Code § 1788.30(c), against each named Defendant
                                            individually.
                                         • an award of costs of litigation and reasonable attorney’s fees, pursuant to
                                            15 U.S.C. § 1692k(a)(3), against each named Defendant individually;
                                             and,
                                          • Any and all other relief that this Court deems just and proper.
                                  

                                 
                                      Dated: October 12, 2011                          Respectfully submitted,
                                 
                                                                                      KAZEROUNI LAW GROUP, APC
                                 

                                 
                                                                                  By: ______/s/ Abbas Kazerounian__
                                                                                           Abbas Kazerounian, Esq.
                                                                                                 Attorney for Plaintiff
                                 


                                      COMPLAINT FOR DAMAGES                                              PAGE 6 OF 7
                                      Case 3:11-cv-02366-JLS-BLM Document 1 Filed 10/13/11 PageID.7 Page 7 of 8



                                                                       TRIAL BY JURY
                                     27. Pursuant to the seventh amendment to the Constitution of the United States of
                                        America, Plaintiff is entitled to, and demands, a trial by jury.
                                 
                                      Dated: October 12, 2011                            Respectfully submitted,
                                 
                                                                                        KAZEROUNI LAW GROUP, APC
                                 

                                 
                                                                                    By: ______/s/ Abbas Kazerounian__
                                                                                             Abbas Kazerounian, Esq.
                                                                                                   Attorney for Plaintiff
                                 

                                  

                                  
2700 N. Main Street, Ste. 1050




                                  
 Santa Ana, California 92705
   Kazerouni Law Group, APC




                                 

                                 

                                 

                                 

                                 

                                 

                                 

                                  

                                  

                                  

                                 

                                 

                                 

                                 

                                 

                                 


                                      COMPLAINT FOR DAMAGES                                                  PAGE 7 OF 7
                      Case 3:11-cv-02366-JLS-BLM Document 1 Filed 10/13/11 PageID.8 Page 8 of 8
 JS 44 (Rev. 12/07)                                                          CIVIL COVER SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
 by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
 the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

 I. (a) PLAINTIFFS                                                                                              DEFENDANTS
Andrew M. Rose                                                                                                   Legal Recovery Law Offices, Inc.

      (b) County of Residence of First Listed Plaintiff                                                         County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                               LAND INVOLVED.
                                                                                                                                                           '11CV2366 JLS BLM
      (c) Attorney’s (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)

  Hyde & Swigart
  411 Camino Del Rio South Suite 301, San Diego, CA 92108
 II. BASIS OF JURISDICTION (Place an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
                                                                                                             (For Diversity Cases Only)                                         and One Box for Defendant)
  1     U.S. Government                   3 Federal Question                                                                        PTF         DEF                                          PTF      DEF
           Plaintiff                            (U.S. Government Not a Party)                           Citizen of This State          1          1      Incorporated or Principal Place       4      4
                                                                                                                                                           of Business In This State

  2     U.S. Government                   4 Diversity                                                 Citizen of Another State           2         2   Incorporated and Principal Place      5       5
           Defendant                                                                                                                                          of Business In Another State
                                                   (Indicate Citizenship of Parties in Item III)
                                                                                                        Citizen or Subject of a            3         3   Foreign Nation                        6       6
                                                                                                          Foreign Country
 IV. NATURE OF SUIT                       (Place an “X” in One Box Only)
           CONTRACT                                              TORTS                                    FORFEITURE/PENALTY                          BANKRUPTCY                     OTHER STATUTES
    110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY               610 Agriculture                    422 Appeal 28 USC 158              400 State Reapportionment
    120 Marine                           310 Airplane                  362 Personal Injury -          620 Other Food & Drug              423 Withdrawal                     410 Antitrust
    130 Miller Act                       315 Airplane Product               Med. Malpractice           625 Drug Related Seizure                28 USC 157                     430 Banks and Banking
    140 Negotiable Instrument                 Liability                 365 Personal Injury -               of Property 21 USC 881                                             450 Commerce
    150 Recovery of Overpayment          320 Assault, Libel &               Product Liability          630 Liquor Laws                     PROPERTY RIGHTS                    460 Deportation
        & Enforcement of Judgment              Slander                   368 Asbestos Personal          640 R.R. & Truck                   820 Copyrights                     470 Racketeer Influenced and
    151 Medicare Act                     330 Federal Employers’             Injury Product             650 Airline Regs.                  830 Patent                              Corrupt Organizations
    152 Recovery of Defaulted                 Liability                       Liability                 660 Occupational                   840 Trademark                      480 Consumer Credit
         Student Loans                    340 Marine                    PERSONAL PROPERTY                    Safety/Health                                                      490 Cable/Sat TV
         (Excl. Veterans)                 345 Marine Product            370 Other Fraud                690 Other                                                              810 Selective Service
    153 Recovery of Overpayment               Liability                 371 Truth in Lending                      LABOR                     SOCIAL SECURITY                    850 Securities/Commodities/
         of Veteran’s Benefits            350 Motor Vehicle             380 Other Personal             710 Fair Labor Standards           861 HIA (1395ff)                        Exchange
    160 Stockholders’ Suits              355 Motor Vehicle                  Property Damage                 Act                            862 Black Lung (923)               875 Customer Challenge
    190 Other Contract                        Product Liability         385 Property Damage            720 Labor/Mgmt. Relations          863 DIWC/DIWW (405(g))                  12 USC 3410
    195 Contract Product Liability       360 Other Personal                 Product Liability          730 Labor/Mgmt.Reporting           864 SSID Title XVI                 890 Other Statutory Actions
    196 Franchise                             Injury                                                        & Disclosure Act                865 RSI (405(g))                   891 Agricultural Acts
        REAL PROPERTY                        CIVIL RIGHTS                PRISONER PETITIONS              740 Railway Labor Act               FEDERAL TAX SUITS                  892 Economic Stabilization Act
    210 Land Condemnation                441 Voting                    510 Motions to Vacate          790 Other Labor Litigation         870 Taxes (U.S. Plaintiff          893 Environmental Matters
    220 Foreclosure                      442 Employment                     Sentence                   791 Empl. Ret. Inc.                      or Defendant)                 894 Energy Allocation Act
    230 Rent Lease & Ejectment           443 Housing/                    Habeas Corpus:                     Security Act                   871 IRS—Third Party                895 Freedom of Information
    240 Torts to Land                        Accommodations             530 General                                                             26 USC 7609                         Act
    245 Tort Product Liability           444 Welfare                   535 Death Penalty                   IMMIGRATION                                                        900Appeal of Fee Determination
    290 All Other Real Property          445 Amer. w/Disabilities -    540 Mandamus & Other           462 Naturalization Application                                              Under Equal Access
                                              Employment                 550 Civil Rights               463 Habeas Corpus -                                                         to Justice
                                          446 Amer. w/Disabilities -    555 Prison Condition               Alien Detainee                                                      950 Constitutionality of
                                              Other                                                      465 Other Immigration                                                       State Statutes
                                          440 Other Civil Rights                                            Actions




 V. ORIGIN                  (Place an “X” in One Box Only)                                                                                                                                    Appeal to District
  1 Original             2 Removed from                     3 Remanded from                      4 Reinstated or  5 Transferred  from
                                                                                                                         another district   6 Multidistrict                         7 Judge from
                                                                                                                                                                                        Magistrate
     Proceeding                 State Court                             Appellate Court                Reopened                                Litigation
                                                                                                                         (specify)                                                            Judgment
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                      15 U.S.C. § 1692 et seq.
 VI. CAUSE OF ACTION Brief description of cause:
                      Unfair Debt Collection Practices
 VII. REQUESTED IN    CHECK IF THIS IS A CLASS ACTION     DEMAND $                                                                                     CHECK YES only if demanded in complaint:
      COMPLAINT:         UNDER F.R.C.P. 23            75,001.00                                                                                         JURY DEMAND:         
                                                                                                                                                                              Yes      No
 VIII. RELATED CASE(S)
                                                (See instructions):
       IF ANY                                                           JUDGE                                                                   DOCKET NUMBER

 DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
  10/13/11                                                                /s/Abbas Kazerounian
 FOR OFFICE USE ONLY

     RECEIPT #                   AMOUNT                                        APPLYING IFP                                       JUDGE                           MAG. JUDGE
